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                 IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF GEORGIA

 DEBORAH LAUFER,
 Individually,

 Plaintiff,

 v.                                          Case No. 1:20-cv-85

 NARAYAN ALBANY HOTEL LLC,

 Defendant.

          JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff Deborah Laufer and Defendant hereby file this Joint Stipulation of
Dismissal with Prejudice, showing this Court as follows:
      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties
voluntarily stipulate that all claims, disputes, and controversies between Plaintiff and
Defendant in this matter are dismissed, with prejudice, and that each party shall bear
its/his own attorney fees, costs and expenses of litigation.
      Respectfully submitted on September 8, 2020.

 /s/ Tristan W. Gillespie                   /s/ Joel M. Haber
 Tristan W. Gillespie                       Joel M. Haber

 THOMAS B. BACON, P.A.                      HABER & TERRELL, LLP
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 ATTORNEYS FOR PLAINTIFF                    ATTORNEYS FOR DEFENDANT
